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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF LOUISIANA
                            LAFAYETTE DIVISION

CORY LEJEUNE, Individually and      *     CIVIL ACTION NO. _______________
on behalf of HUDSON LEJEUNE         *
                                    *
VERSUS                              *
                                    *     JUDGE ____________________________
VENTURA TRANSPORTATION,             *
INC., OSCAR ROSA LOPEZ and          *
AMERICAN SENTINEL                   *
INSURANCE COMPANY                   *     MAGISTRATE _____________________
                                    *
******************************************************************************


                NOTICE OF REMOVAL

TO:    THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT COURT
       FOR THE WESTERN DISTRICT OF LOUISIANA, LAFAYETTE DIVISION

       United States District Courthouse
       800 Lafayette Street, Suite 2100
       Lafayette, Louisiana 70501


       Petitioner, VENTURA TRANSPORTATION, INC., appearing herein as the

correct party for the incorrectly named “Ventura Transportation Services, LLC,”

gives notice of the removal of the civil action styled “Cory Lejeune, Individually, and

on behalf of Hudson Lejeune versus Oscar Rosa Lopez, Ventura Transportation

Services, LLC and American Sentinel Insurance Company,” Docket No. C-20221524,

Division “J”, from the 15th Judicial District Court for the Parish of Lafayette, State of

Louisiana, to the United States District Court for the Western District of Louisiana,

Lafayette Division. Petitioner files this Notice of Removal with full reservation of any
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and all rights, defenses, and objections, including but not limited to insufficiency of

process, insufficiency of service of process, lack of personal jurisdiction, improper

venue, no right of action, lack of standing, prescription, preemption, and no cause of

action. Petitioner does not acknowledge any liability or agree to CORY LEJEUNE’s

(“Plaintiff”) right to recover any damages.      In support of removal, VENTURA

TRANSPORTATION, INC. respectfully represents as follows:

              I. FACTUAL AND PROCEDURAL BACKGROUND

                                          1.

      On or about March 25, 2022, Plaintiff filed the instant civil action in the 15th

Judicial District Court for the Parish of Lafayette, State of Louisiana, bearing the

caption “Cory Lejeune, Individually, and on behalf of Hudson Lejeune versus Oscar

Rosa Lopez, Ventura Transportation Services, LLC and American Sentinel Insurance

Company,” and bearing Docket No. C-20221524 (“the Lawsuit”). Plaintiff named as

defendants Oscar Rosa Lopez, “Ventura Transportation Services, LLC,” and

American Sentinel Insurance Company. A copy of the complete state court record

including the original petition is attached as Exhibit A, in globo, in accordance with

28 U.S.C. § 1446(a).

                                          2.

      Service of the Lawsuit was effected on Oscar Rosa Lopez on April 18, 2022, (see

Exhibit A, at p. 13) and on American Sentinel Insurance Company on April 8, 2022,

(see Exhibit A, at p. 15). Citation addressed to “Ventura Transportation”, along with

a copy of the lawsuit and Plaintiff’s “First Supplemental and Amending Petition for
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Damages”, was received by Edgar Ventura, the registered agent for service of process

for VENTURA TRANSPORTATION, INC., via certified mail on September 1, 2022.

(see Exhibit B, a copy of all process, pleadings and orders served upon VENTURA

TRANSPORTATION, INC.). Despite the naming of “Ventura Transportation

Services, LLC” in the original petition, and the citation addressed solely to “Ventura

Transportation,” a non-sequitur, VENTURA TRANSPORTATION, INC. is the correct

defendant and the real party in interest herein. As VENTURA TRANSPORTATION,

INC. first received legal notice of the Lawsuit via service of citation addressed to

“Ventura Transportation,” but delivered to VENTURA TRANSPORTATION, INC.’s

agent for service of process on September 1, 2022, this notice is timely filed under the

provisions of 28 U.S.C. § 1446(b).

                        II. DIVERSITY OF CITIZENSHIP

                                           3.

      This is a matter over which this Honorable Court has original diversity

jurisdiction under 28 U.S.C. § 1332, and which may be removed to this Court

pursuant to the provisions of 28 U.S.C. § 1441, as the matter in controversy exceeds

the sum of $75,000, exclusive of interest and costs, and is between citizens of different

states.
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                                           4.


        Plaintiff, CORY LEJEUNE, is a citizen of the State of Louisiana. See Exhibit

A, p. 5 (“Petition for Damages”).

                                           5.

        Defendant, Oscar Rosa Lopez is a citizen of the State of Texas. See Exhibit A,

p. 5 ¶ I., and “Consent to Removal” of Oscar Rosa Lopez (Exhibit C.)

                                           6.

        The defendant American Sentinel Insurance Company is likewise not a

Louisiana citizen. It is a Pennsylvania corporation with its principal place of business

in Pennsylvania. See Exhibit A, p. 5 ¶ I., and “Consent to Removal” of American

Sentinel Insurance Company (Exhibit D.) Therefore, American Sentinel Insurance

Company is a citizen of the State of Pennsylvania for the purposes of 28 U.S.C. §

1332.

                                           7.

        VENTURA TRANSPORTATION, INC., the real party in interest herein, is a

corporation organized and existing under the laws of, and having its principal place

of business in, the State of Texas. Therefore, VENTURA TRANSPORTATION, INC.

is a citizen of the state of Texas for the purposes of 28 U.S.C. § 1332.

                                           8.

        VENTURA TRANSPORTATION, INC. shows that it is facially apparent from

the plaintiff’s Petition that the amount of controversy herein exceeds $75,000.
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                                            9.

       Plaintiff alleges in the Lawsuit that he “sustained serious injuries to his neck,

back and entire body as a whole,” and that his son, Hudson Lejeune, “sustained

serious injuries to his head and entire body as a whole.” See, Exhibit A, p. 7, ¶s

VIII. and IX. The Lawsuit further alleges that Plaintiff’s damages include past

medical expenses, future medical expenses, past physical pain and suffering, future

physical pain and suffering, past mental and emotional anguish, future mental and

emotional anguish, past disability, future disability, past loss of enjoyment of life,

future loss of enjoyment of life, past loss of earning capacity and future loss of earning

capacity.

                                           10.

      Louisiana Code of Civil Procedure article 893(A)(1) states that a plaintiff

generally is not allowed to plead the specific monetary amount of his damages but

may do so if a specific amount of damages is necessary to establish the lack of

jurisdiction of the federal courts. In this case, Plaintiff did not allege that the damages

claimed on his behalf or on behalf of his minor son were less than $75,000.00 in order

to defeat federal jurisdiction.

                                           11.

       This suit is therefore an action over which this Honorable Court has original

jurisdiction under the provisions of 28 U.S.C. § 1332, and is one that may be removed

to this Court by defendant under the provisions of 28 U.S.C. § 1441, in that it is a
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civil action between citizens of different states, wherein the amount in controversy

exceeds the sum of $75,000, exclusive of interest and costs.

         III.   ALL PROCEDURAL REQUIREMENTS FOR REMOVAL
                             ARE SATISFIED

                                         12.

      All of the defendants named in the Lawsuit consent to this removal. A copy of

all process, pleadings and orders served upon VENTURA TRANSPORTATION, INC.,

the removing defendant, is attached hereto as Exhibit B.

                                         13.

      The United States District Court for the Western District of Louisiana

encompasses Lafayette Parish, the parish in which the Lawsuit is now pending.

Therefore, venue is proper in this Court pursuant to 28 U.S.C. § 1441(a).

                                         14.

      As required by 28 U.S.C. §1446(d), Petitioner has provided notice to the Clerk

of Court for the 15th Judicial District Court for the Parish of Lafayette, State of

Louisiana, through the contemporaneous filing of this Notice of Removal and a Notice

of Filing of Notice of Removal into the record of proceedings in the Lawsuit in the

state court, and has further notified Plaintiff by delivery of same to his counsel of

record. A copy of the Notice of Filing of Notice of Removal is attached hereto as

Exhibit E.

                                         15.

      Pursuant to 28 U.S.C. § 1446(d), the filing of this Notice of Removal in this

Court and the filing of same with the state court serves immediately to confer upon
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this Court exclusive jurisdiction over this action and simultaneously to divest the

state court of jurisdiction with respect to the Lawsuit; and to effect the removal of the

Lawsuit from the state court, which shall proceed no further unless and until the case

is remanded.

      WHEREFORE, Petitioner, VENTURA TRANSPORTATION, INC., with the

consent of all defendants, respectfully submits this Notice of Removal to this

Honorable Court and hereby removes the instant civil action bearing the caption

“Cory Lejeune, Individually, and on behalf of Hudson Lejeune versus Oscar Rosa

Lopez, Ventura Transportation Services, LLC and American Sentinel Insurance

Company,” and bearing Docket No. C-20221524, Division “J”, from the 15th Judicial

District Court for the Parish of Lafayette, State of Louisiana, to this Honorable Court

for further proceedings and disposition.



                                               Respectfully submitted,

                                               HILL & BEYER
                                               A Professional Law Corporation

                                               s/Bret C. Beyer, Sr.
                                               BRET C. BEYER, SR. (#18113)
                                               MEGAN E. REAUX (#34174)
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                                               Attorneys for VENTURA
                                               TRANSPORTATION, INC.
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                             CERTIFICATE
      I HEREBY CERTIFY that a copy of the above and foregoing Notice of Removal

was provided to all counsel of record via facsimile, hand delivery, electronic mail

and/or U.S. mail, postage prepaid and properly addressed, on this      27th day of

September, 2022.


                              /s/ Bret C. Beyer, Sr.
                              BRET C. BEYER, SR.
